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 8                          UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
 9                               WESTERN DIVISION
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11
     YVONNE LYNN OTTAVIANO, et al.,           ) Case No. CV 22-2384-DMG (AGRx)
12                                            )
13                             Plaintiffs,    ) JUDGMENT
                  vs.                         )
14                                            )
15   CITY OF LOS ANGELES, et al.,             )
                                              )
16
                               Defendants.    )
17                                            )
18
           Pursuant to the Court’s Order granting Defendants’ motion for summary judgment
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     [Doc. # 85], filed July 5, 2024,
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21         IT IS HEREBY ORDERED, ADJUDGED, and DECREED that judgment is
22   entered in favor of Defendants City of Los Angeles, Won Kim, Aldo Ruiz, Ambyr Burrus,
23   and Robert Madrid, and against Plaintiff Yvonne Lynn Ottaviano.
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     DATED: July 5, 2024
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                                                  DOLLY M. GEE
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                                                  Chief United States District Judge
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